Case 2:03-cV-02631-SHI\/|-STA Document 20 Filed 06/06/05 Page 1 of 2 Page|D 43

 

    
   

 

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FOR THE WESTERN DISTRJCT OF TENNES sEE 95 JUH
WESTERN DIVISION '* `5 ll 9‘ l 3
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MICHAEL W. sMITH, W~B- O‘" m Pv‘!EMPHfS
Plaintiff,
vs. NO. 03~2631»Ma/An
sHELBY COUNTY, ET AL.,
Defendants.

 

ORDER TO SHOW CAUSE

Oii August 22, 2003, Plaintiff filed the Cornplaint in this matter. As of the date of this Order,
Plaintiff has still not effected service cf process on the Defendants in this matter.
Plaiutiff is hereby ORDERED to show cause, Within eleven (l l) days of the entry of this

order, why this case should not be dismissed for failure to obtain service. Failure to respond to this
Order cr to show good cause Will result in the dismissal of this matter.

IT ls so ORDERED this 3 4 day ofJune, 2005.

J/M/WL~\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:03-CV-02631 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listedl

 

Michael W. Smith
WCF: F-B-l 10
#274440

P.O. Box 679
Whiteville, TN 38075

Honorable Sarnuel Mays
US DISTRICT COURT

